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    Before They Were Stars, They Won YAGP

                   Jennifer Heimlich



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    April 25, 2016



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    Throw together a night of performances by international dancers, sprinkle in some
    teenage competition winners’ solos, and call it something cute: That would seem to be the
    recipe for Youth America Grand Prix’s “Stars of Today Meet the Stars of Tomorrow” gala,
    happening this Thursday and Friday at the Brooklyn Academy of Music.

    Except, the name of this annual program is eerily prescient. When you look back at the lists
    of YAGP medalists from the past 15 years, that “Stars of Tomorrow” moniker is spot-on.
    They read like something of a Who’s Who of ballet—including several top names who’ve been
    highlighted in Dance Magazine.

    June 2007

       Back in 2002, Sarah Lane nabbed the senior bronze medal with an unforgettable
       performance: After her music stopped 20 seconds into her Paquita variation, she finished the
       rest in silence. In the audience (which erupted into a spontaneous standing ovation)
       was American Ballet Theatre artistic director Kevin McKenzie. We ended up putting Lane on
       Dance Magazine‘s cover in June 2007 just before he promoted her to soloist.


       Jim Nowakowski won the Youth Grand Prix in 2002 before joining Houston Ballet, then took a
       star turn on “So You Think You Can Dance.” We named him one of Dance Magazine‘s “25 to
       Watch” this year.


       That same year, Brooklyn Mack placed third in the classical dance category for senior men.
       Today, he’s a standout dancer at The Washington Ballet, and partnered Misty Copeland in
       her first U.S. performance of Swan Lake.

       May 2013




       Hee Seo
       took the Grand Prix in 2003. She would later become one of ABT’s classiest principals,
       gracing our May 2013 cover.


       Whitney Jensen

       January 2010


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       won the gold medal among the junior women in 2005. She appeared on DM‘s 2010 “25 to
       Watch” cover with Broadway’s William Wingfield. After reaching the rank of principal at
       Boston Ballet, she recently joined Norwegian National Ballet.


       Joseph Gorak
       already flaunted crystal clean technique when he tied for the Grand Prix in 2006. He now
       partners leading ladies like Misty Copeland and Isabella Boylston as a soloist at ABT.


       Before he became the “bad boy of ballet,” Sergei Polunin also shared the 2006 Grand Prix by
       showing off his eye-popping, rockstar style. After infamously walking out on his principal
       career at The Royal Ballet, he’s now a guest soloist with the Stanislavsky Theater in Russia
       and also partnering/dating Natalia Osipova.


       Although she was more often seen at competitions like New York City Dance Alliance and
       Showstopper, Dusty Button won the bronze medal for classical dance among the seniors at
       YAGP in 2006. She told us last July that she feels her competitive sensibility was what helped
       her become a principal at Boston Ballet so quickly.

       Melissa Hamilton at YAGP 2007


    July 2015


       After winning the Grand Prix in 2007, Melissa Hamilton joined The Royal Ballet. She’s currently
       taking a two-season leave of absence to stretch her contemporary skills as a principal with
       Dresden Semperoper Ballet.


       A tiny Catherine Hurlin won the “Hope Award” in the pre-competitive division in 2008 (see her
       incredible contemporary performance at 7:52 in this video). Although she’s still in ABT’s corps,
       she’s already made a name for herself as one of its most talented up-and-comers.


    May 2014

    Catherine Hurlin at YAGP 2008




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       Jeffrey Cirio won the Grand Prix in 2009. He now balances a soloist career at ABT with
       building his own choreographic side project, Cirio Collective.


       I remember being backstage in 2010 when Hannah O’Neill won the gold medal among the
       seniors (see her variation at minute 4:53 in the video below). Her old-fashioned grace was
       stunning; it’s no wonder Benjamin Millepied promoted her to first soloist at Paris Opéra
       Ballet this season. This week, she’ll be performing at YAGP’s gala as one of the “Stars of
       Today.”




       Hannah Bettes took the gold medal among the junior women in the classical dance category
       in 2011 (see her charming Coppélia variation at 1:54). Today she’s turning heads at Boston
       Ballet.




       Kimin Kim won the Grand Prix in 2012 before becoming principal at the Mariinsky Ballet.


    Of course, this is only a small list of the many former YAGP winners who’ve gone on to have
    amazing dance careers. And that’s what’s so exciting: You never know where those “Stars of
    Tomorrow” might go.




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